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         EXHIBIT “A”
         Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 2 of 28
                     CONFIDENTIAL -· SUBJECT TO PROTECTIVE ORDER

                                                                               Page 1
·1· · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · FOR THE NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · SAN FRANCISCO DIVISION

·4·   ·------------------------------)
· ·   · · · · · · · · · · · · · · · ·)
·5·   ·IN RE TESLA, INC.· · · · · · ·) Civil Action No.
· ·   · · · · · · · · · · · · · · · ·) 3:18-cv-04865-EMC
·6·   ·SECURITIES LITIGATION· · · · ·)
· ·   · · · · · · · · · · · · · · · ·)
·7·   ·------------------------------)

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12· · · · ·CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

13· · · · · ·VIDEOTAPED DEPOSITION OF DAVID ARNOLD

14· · · · · · · · · · · · · VOLUME I

15· · · · · · ·APPEARING VIA VIDEOCONFERENCE FROM

16· · · · · · · · ·PALM SPRINGS, CALIFORNIA

17· · · · · · · · THURSDAY, SEPTEMBER 30, 2021

18· · · · · · · · ·9:01 A.M. - 2:17 P.M. PST

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23·   ·STENOGRAPHICALLY REPORTED BY:
· ·   ·CHERYL ASADA
24·   ·CA CSR NO. 13496
· ·   ·WA CCR NO. 21000937
25·   ·FILE NO. 200187


                     TSG Reporting - Worldwide· · 877-702-9580
       Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 3 of 28
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                                                                             Page 2
·1
·2
·3
·4· · · · · · · · ·September 30, 2021
·5· · · · · · · · ·9:01 a.m.
·6
·7
·8· · · · · · CONFIDENTIAL - SUBJECT TO PROTECTIVE
·9· ·ORDER, VIDEOTAPED DEPOSITION OF DAVID ARNOLD,
10· ·appearing via videoconference from Palm
11· ·Springs, California, before Cheryl Asada,
12· ·California Certified Shorthand Reporter
13· ·No. 13496, Washington Certified Court Reporter
14· ·No. 21000937.
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       Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 4 of 28
                   CONFIDENTIAL -· SUBJECT TO PROTECTIVE ORDER

                                                                             Page 3
·1
·2· ·A P P E A R A N C E S:
·3
·4· · · · · · LEVI & KORSINSKY
·5· · · · · · Attorneys for Plaintiffs
·6· · · · · · · · 1101 30th Street NW
·7· · · · · · · · Washington, DC· 20007
·8· · · · · · By: NICHOLAS PORRITT, Esq.
·9· · · · · · · · ELIZABETH TRIPODI, Esq.
10· · · · · · · · KATHY AMES-VALDIVIESO, Esq.
11
12
13
14
15
16· · · · · · COOLEY
17· · · · · · Attorneys for Defendants
18· · · · · · · · 3175 Hanover Street
19· · · · · · · · Palo Alto, California 94304
20· · · · · · By: PATRICK GIBBS, Esq.
21· · · · · · · · JOSHUA WALDEN, Esq.
22
23
24
25


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       Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 5 of 28
                   CONFIDENTIAL -· SUBJECT TO PROTECTIVE ORDER

                                                                             Page 4
·1
·2· ·A P P E A R A N C E S (continued):
·3
·4· · · · · · ALSO PRESENT:
·5· · · · · · · · JOEL CORIAT, Videographer
·6· · · · · · · · (Appearing via videoconference)
·7· · · · · · · · CANDACE JACKMAN, In-House Counsel from
·8· · · · · · · · Tesla
·9· · · · · · · · (Appearing via videoconference)
10
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              Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 6 of 28
                          CONFIDENTIAL -· SUBJECT TO PROTECTIVE ORDER

                                                                                    Page 5
·1· · · · · · · · · · · · ·I N D E X

·2

·3· ·W I T N E S S:

·4· ·DAVID ARNOLD· · · · · · · · · · · · · · · · · · ·PAGE

·5· · · · · · EXAMINATION BY MR. PORRITT· · · · · · · 10

·6

·7· ·INFORMATION REQUESTED:

·8· · · · · · · · · · · · · (NONE)

·9

10· ·QUESTIONS INSTRUCTED NOT TO ANSWER:

11· · · · · · · · · · · · · ·(NONE)

12

13· ·PREVIOUSLY MARKED EXHIBITS:

14· · · · · · · · NUMBER· · · · · · · PAGE

15·   ·   ·   ·   ·   ·   ·   ·   Exhibit   8· · · · · ·60
· ·   ·   ·   ·   ·   ·   ·   ·   Exhibit   9· · · · · ·68
16·   ·   ·   ·   ·   ·   ·   ·   Exhibit   10· · · · · 69
· ·   ·   ·   ·   ·   ·   ·   ·   Exhibit   11· · · · · 71
17·   ·   ·   ·   ·   ·   ·   ·   Exhibit   12· · · · · 84
· ·   ·   ·   ·   ·   ·   ·   ·   Exhibit   13· · · · · 87
18·   ·   ·   ·   ·   ·   ·   ·   Exhibit   87· · · · · 47

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20· · · · · · · · · · ·E X H I B I T S

21· ·NUMBER· · · · · · · DESCRIPTION· · · · · · · · · PAGE

22·   ·Exhibit 296 5/3/2018 E-mail chain· · · · · · · · 38
· ·   · · · · · · ·(TESLA_LITTLETON_00014243 to
23·   · · · · · · ·TESLA_LITTLETON_00014260) -
· ·   · · · · · · ·Confidential
24
· ·   ·Exhibit 297 6/12/2018 E-mail· · · · · · · · · · ·46
25·   · · · · · · ·(SPACEX_LITTLETON_00000133) -
· ·   · · · · · · ·Confidential


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·1·   · · · · · · · · · ·E X H I B I T S
· ·   · · · · · · · · · · ·(CONTINUED)
·2
· ·   ·NUMBER· · · · · · · DESCRIPTION· · · · · · · · · PAGE
·3
· ·   ·Exhibit 298 8/7/2018 E-mail chain· · · · · · · · 52
·4·   · · · · · · ·(TESLA_LITTLETON_00018287) -
· ·   · · · · · · ·Confidential
·5
· ·   ·Exhibit 299 8/17/2018 E-mail· · · · · · · · · · ·76
·6·   · · · · · · ·(TESLA_LITTLETON_00013639) -
· ·   · · · · · · ·Confidential
·7
· ·   ·Exhibit 300 8/7/2018 E-mail chain· · · · · · · · 78
·8·   · · · · · · ·(TESLA_LITTLETON_00013628 to
· ·   · · · · · · ·TESLA_LITTLETON_00013631) -
·9·   · · · · · · ·Confidential

10·   ·Exhibit 301 8/7/2018 E-mail chain· · · · · · · · 84
· ·   · · · · · · ·(TESLA_LITTLETON_00018995 to
11·   · · · · · · ·TESLA_LITTLETON_00018997) -
· ·   · · · · · · ·Confidential
12
· ·   ·Exhibit 302 8/17/2018 E-mail chain· · · · · · · ·90
13·   · · · · · · ·(TESLA_LITTLETON_00018261) -
· ·   · · · · · · ·Confidential
14
· ·   ·Exhibit 303 8/7/2018 E-mail chain· · · · · · · · 93
15·   · · · · · · ·(TESLA_LITTLETON_00005303) - FOIA
· ·   · · · · · · ·Confidential Treatment Requested
16·   · · · · · · ·by Tesla Not Subject to Disclosure
· ·   · · · · · · ·Pursuant to· 5 U.S.C. 552 (b)
17·   · · · · · · ·Confidential

18· ·Exhibit 304 8/7/2018 E-mail chain· · · · · · · · 98
· · · · · · · · ·(TESLA_LITTLETON_00014429 to
19· · · · · · · ·TESLA_LITTLETON_00014430)

20· ·Exhibit 305 8/8/2018 E-mail chain· · · · · · · · 100
· · · · · · · · ·(TESLA_LITTLETON_00018913) -
21· · · · · · · ·Confidential

22· ·Exhibit 306 8/9/2018 E-mail chain· · · · · · · · 103
· · · · · · · · ·(TESLA_LITTLETON_00018851) -
23· · · · · · · ·Confidential

24· ·Exhibit 307 8/9/2018 E-mail· · · · · · · · · · · 105
· · · · · · · · ·(TESLA_LITTLETON_00018875) -
25· · · · · · · ·Confidential


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·1·   · · · · · · · · · ·E X H I B I T S
· ·   · · · · · · · · · · ·(CONTINUED)
·2
· ·   ·NUMBER· · · · · · · DESCRIPTION· · · · · · · · · PAGE
·3
· ·   ·Exhibit 308 3/10/2018 E-mail chain· · · · · · · ·114
·4·   · · · · · · ·(TESLA_LITTLETON_00015641 to
· ·   · · · · · · ·TESLA_LITTLETON_00015642) -
·5·   · · · · · · ·Confidential

·6· ·Exhibit 309 8/10/2018 E-mail chain· · · · · · · ·115
· · · · · · · · ·(TESLA_LITTLETON_00015996) -
·7· · · · · · · ·Confidential

·8·   ·Exhibit 310 8/10/2018 E-mail chain· · · · · · · ·119
· ·   · · · · · · ·(TESLA_LITTLETON_00015997 to
·9·   · · · · · · ·TESLA_LITTLETON_00015998) -
· ·   · · · · · · ·Confidential
10
· ·   ·Exhibit 311 8/11/2018 E-mail· · · · · · · · · · ·121
11·   · · · · · · ·(TESLA_LITTLETON_00004866) -
· ·   · · · · · · ·Confidential
12

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                   CONFIDENTIAL -· SUBJECT TO PROTECTIVE ORDER

                                                                             Page 94
·1· · · · · · Mr. Porritt, I'm sorry.· I couldn't
·2· ·understand what you were just saying, please.
·3· · · · · · MR. PORRITT:· Oh, I apologize.
·4· ·BY MR. PORRITT:
·5· · · ·Q· · I only really have questions about the first
·6· ·page of Exhibit 303, but please review what you need
·7· ·of the exhibit.· Meanwhile, I'll introduce it into the
·8· ·record.
·9· · · · · · MR. PORRITT:· Exhibit 303 is a document
10· ·Bates-stamped TESLA_LITTLETON_00005303 to 5307.
11· · · · · · THE WITNESS:· Yes, I've scanned this.                   I
12· ·have not read the full text of The Wall Street
13· ·Journal and New York Times article below that, but
14· ·it's not relevant to the question.
15· ·BY MR. PORRITT:
16· · · ·Q· · So this is an e-mail that you sent on
17· ·August 7th, 2018?
18· · · ·A· · Yes.
19· · · ·Q· · Okay.· And just to be clear, I think the
20· ·timestamps may be off by -- they may be in the
21· ·afternoon of August 7th, 2018, based on the timestamp.
22· · · · · · It's to a distribution list ExecStaff.· Do
23· ·you see that?
24· · · ·A· · Yes, I see that.
25· · · ·Q· · Do you know who was on that distribution


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       Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 10 of 28
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                                                                              Page 95
·1· ·list?
·2· · · ·A· · I don't know exactly who was on that, but it
·3· ·was our executive team, as I recall.
·4· · · ·Q· · Okay.· Was Elon Musk on that distribution
·5· ·list?
·6· · · ·A· · I believe so.
·7· · · ·Q· · You'll see here in Exhibit 303 -- well, first
·8· ·of all, this paragraph is saying -- you know, you
·9· ·start off "FYI," and then you say, "following up blog
10· ·post."· And then there's a remaining paragraph.
11· · · · · · Are those -- is that something that you
12· ·wrote?
13· · · ·A· · Most likely, that is something -- as we saw
14· ·in some previous e-mails, there's an employee named
15· ·Erica Chen who, one of her responsibilities was to,
16· ·sort of, collate coverage.· I suspect that she -- she
17· ·drafted this.
18· · · ·Q· · Okay.· But you would have read it before
19· ·putting it into this e-mail around to the ExecStaff?
20· · · ·A· · I would have likely scanned it.· Probably
21· ·unlikely that I read the whole thing word-for-word.
22· · · ·Q· · You'll see here in that first paragraph, it's
23· ·written:
24· · · · · · · · "The predominant theme throughout
25· · · · · · coverage is that the e-mail 'did not make


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                                                                                        YVer1f
       Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 11 of 28
                    CONFIDENTIAL -· SUBJECT TO PROTECTIVE ORDER

                                                                              Page 96
·1· · · · · · any mention of financing reference in
·2· · · · · · Musk's original tweet' and 'gave no gave
·3· · · · · · further details on how he would fund a
·4· · · · · · deal or when he hoped to make the buyout
·5· · · · · · offer,'"
·6· · · · · · Do you see that?
·7· · · ·A· · I do.
·8· · · ·Q· · At this time, do you recall having any
·9· ·question in your mind about how you should address
10· ·media inquiries regarding the source of financing for
11· ·the go-private transaction?
12· · · ·A· · Again, I don't recall exactly.· We were
13· ·still -- at this point, would've just been pointing to
14· ·the initial blog post that we published.· I -- I would
15· ·imagine that, you know, as we're seeing this theme
16· ·come through in media, we figured it was something
17· ·that, at some point, we should figure out how to
18· ·address.
19· · · ·Q· · Okay.· Do you recall when you came up with a
20· ·message on the financing for the go-private
21· ·transaction?
22· · · ·A· · I don't.
23· · · ·Q· · Do you recall who was tasked with coming up
24· ·with a message to give to -- in response to media
25· ·inquiries regarding financing?


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                                                                                        YVer1f
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                                                                              Page 126
·1

·2· ·STATE OF CALIFORNIA· ·)
· · · · · · · · · · · · · ·)· ·ss.
·3· ·COUNTY OF LOS ANGELES )

·4

·5· · · · I, DAVID ARNOLD, do hereby certify under penalty

·6· ·of perjury that I have read the foregoing transcript

·7· ·of my deposition, taken on SEPTEMBER 30, 2021; that I

·8· ·have made any corrections, additions, or deletions to

·9· ·reflect my accurate testimony; that my transcript is a

10· ·true and accurate transcription of my testimony.

11

12· · · ·Signed at __________________, ___________________.
· · · · · · · · · · · ·(City)· · · · · · · · · (State)
13

14· · · · ___________________________· ___________________
· · · · · · · · · DAVID ARNOLD· · · · · · · · ·(Date)
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       Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 13 of 28
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                                                                              Page 127
·1

·2· ·STATE OF CALIFORNIA· · )
· · · · · · · · · · · · · · )· ss.
·3· ·COUNTY OF LOS ANGELES· )

·4

·5· · · · · · I, CHERYL ASADA, CSR No. 13496, certify: That

·6· ·the foregoing proceedings were taken via remote

·7· ·videoconference at the time and place herein set

·8· ·forth; at which time the witness was duly sworn; and

·9· ·that the transcript is a true record of the testimony

10· ·so given.

11· · · · · · The dismantling, unsealing, or unbinding

12· ·of the original transcript will render the

13· ·reporter's certificate null and void.

14· · · · · · I further certify that I am not financially

15· ·interested in the action, and I am not related to any

16· ·of the parties in this case.

17· · · · · · Witness review, correction, and signature was

18· ·( ) By Code· (X) Requested· ( ) Not requested.

19

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21· · · · · · Dated this 12TH day of OCTOBER, 2021.

22

23
· · · · · · · · · · · ·_______________________________
24· · · · · · · · · · · · CHERYL ASADA, CSR 13496

25


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         Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 14 of 28
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·1· · · · · · · · · · ERRATA SHEET

·2· Case Name:

·3· Deposition Date:

·4· Deponent:

·5· Pg.· No. Now Reads· · ·Should Read· Reason

·6· ___· ___ __________· · __________· ·____________________

·7· ___· ___ __________· · __________· ·____________________

·8· ___· ___ __________· · __________· ·____________________

·9· ___· ___ __________· · __________· ·____________________

10· ___· ___ __________· · __________· ·____________________

11· ___· ___ __________· · __________· ·____________________

12· ___· ___ __________· · __________· ·____________________

13· ___· ___ __________· · __________· ·____________________

14· ___· ___ __________· · __________· ·____________________

15· ___· ___ __________· · __________· ·____________________

16· ___· ___ __________· · __________· ·____________________

17· ___· ___ __________· · __________· ·____________________

18· ___· ___ __________· · __________· ·____________________

19· ___· ___ __________· · __________· ·____________________

20
· ·   · · · · · · · · · · · · · · · · _____________________
21
· ·   · · · · · · · · · · · · · · · · Signature of Deponent
22
· ·   SUBSCRIBED AND SWORN BEFORE ME
23·   THIS ____ DAY OF __________, 2021.

24· ____________________

25· (Notary Public)· ·MY COMMISSION EXPIRES:__________


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·1· · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · FOR THE NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · SAN FRANCISCO DIVISION

·4·   ·------------------------------)
· ·   · · · · · · · · · · · · · · · ·)
·5·   ·IN RE TESLA, INC.· · · · · · ·) Civil Action No.
· ·   · · · · · · · · · · · · · · · ·) 3:18-cv-04865-EMC
·6·   ·SECURITIES LITIGATION· · · · ·)
· ·   · · · · · · · · · · · · · · · ·)
·7·   ·______________________________)

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12· · · · CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

13· · · · · ·VIDEOTAPED DEPOSITION OF DAVID ARNOLD

14· · · · · · · · · · · · ·VOLUME II

15· · · · · · APPEARING VIA VIDEOCONFERENCE FROM

16· · · · · · · · ·PALM SPRINGS, CALIFORNIA

17· · · · · · · · THURSDAY, FEBRUARY 24, 2022

18· · · · · · · · · 8:04 A.M. - 11:11 A.M.

19

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21

22

23· ·Stenographically Reported by:

24· ·Tami L. Le, CSR No. 8716, RPR

25· ·Job No. 207086


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       Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 16 of 28
                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                              Page 130
·1
·2
·3
·4· · · · · February 24, 2022
·5· · · · · 8:04 a.m.
·6
·7· · ** CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER **
·8
·9· · · · ·REMOTE VIDEOTAPED DEPOSITION OF DAVID
10· ·ARNOLD, appearing via Zoom videoconference
11· ·from Palm Springs, California, before Tami L.
12· ·Le, Registered Professional Reporter and
13· ·California Certified Shorthand Reporter
14· ·No. 8716 in the State of California.
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       Case 3:18-cv-04865-EMC   Document 621-2 Filed 01/26/23 Page 17 of 28
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                                                                              Page 131
·1· ·A P P E A R A N C E S:
·2
·3
·4· · · · · · ·LEVI & KORSINSKY
·5· · · · · · ·Attorneys for Plaintiffs
·6· · · · · · · · · ·1101 30th Street NW
·7· · · · · · · · · ·Washington, District of Columbia 20007
·8· · · · · · ·BY:· ·NICHOLAS PORRITT, ESQ.
·9· · · · · · · · · ·ELIZABETH TRIPODI, ESQ.
10· · · · · · · · · ·KATHY VALDIVIESO, ESQ.
11
12· · · · · · ·QUINN EMANUEL URQUHART & SULLIVAN
13· · · · · · ·Attorneys for Defendants
14· · · · · · · · · ·51 Madison Avenue
15· · · · · · · · · ·New York, New York 10010
16· · · · · · ·BY:· ·ALEX SPIRO, ESQ.
17
18
19· · · · · · ·ALSO PRESENT:
20· · · · · · · · · ·STEPHAN ANDREYCHUK, Videographer
21· · · · · · · · · ·(Appearing via videoconference)
22
23
24
25


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·1· · · · · · · · · · · · ·I N D E X

·2· ·WITNESS:· DAVID ARNOLD

·3· ·EXAMINATION· · · · · · · · · · · · · · · · · · PAGE

·4· · · ·BY MR. PORRITT· · · · · · · · · · · · · · · 138

·5

·6

·7· · · · · · · · · · · E X H I B I T S

·8· ·NUMBER· · · · · · · DESCRIPTION· · · · · · · ·MARKED

·9·   ·Exhibit 338 - August 11, 2018 Reuters· · · · · ·151
· ·   · · · · · · · ·article, "Saudi Arabia's PIF
10·   · · · · · · · ·has shown no interest in
· ·   · · · · · · · ·bankrolling Tesla's buyout -
11·   · · · · · · · ·sources"

12·   ·Exhibit 339 - Email string, top email dated· · ·153
· ·   · · · · · · · ·8/13/2018 from Erica Chen to
13·   · · · · · · · ·Dave Arnold, Bates-stamped
· ·   · · · · · · · ·TESLA_LITTLETON_00013913
14·   · · · · · · · ·through
· ·   · · · · · · · ·TESLA_LITTLETON_00013915
15
· ·   ·Exhibit 340 - Email dated 8/13/2018 from· · · · 166
16·   · · · · · · · ·Dave Arnold to Elon Musk,
· ·   · · · · · · · ·Bates-stamped
17·   · · · · · · · ·TESLA_LITTLETON_00005739

18·   ·Exhibit 341 - Email string, top email dated· · ·173
· ·   · · · · · · · ·August 13, 2018 from Mitchell
19·   · · · · · · · ·Schwenz to Dave Arnold and
· ·   · · · · · · · ·Sarah O'Brien, Bates-stamped
20·   · · · · · · · ·TESLA_LITTLETON_00004744
· ·   · · · · · · · ·through
21·   · · · · · · · ·TESLA_LITTLETON_00004749

22·   ·Exhibit 342 - Email string, top email dated· · ·178
· ·   · · · · · · · ·August 13, 2018 from Dave
23·   · · · · · · · ·Arnold to Todd Maron and Sarah
· ·   · · · · · · · ·O'Brien, Bates-stamped
24·   · · · · · · · ·TESLA_LITTLETON_00019019 and
· ·   · · · · · · · ·TESLA_LITTLETON_00019020
25


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·1· · · · · · · · · I N D E X· (Continued)

·2· · · · · · · · · ·EXHIBITS (Continued)

·3

·4· ·NUMBER· · · · · · · DESCRIPTION· · · · · · · ·MARKED

·5·   ·Exhibit 343 - August 13, 2018 The New York· · · 192
· ·   · · · · · · · ·Times article, "Tesla Board
·6·   · · · · · · · ·Surprised by Elon Musk's Tweet
· ·   · · · · · · · ·on Taking Carmaker Private"
·7
· ·   ·Exhibit 344 - August 14, 2018 The New York· · · 194
·8·   · · · · · · · ·Times article, "Elon Musk's
· ·   · · · · · · · ·Effort to Take Tesla Private
·9·   · · · · · · · ·to Get Board Oversight"

10·   ·Exhibit 345 - Email string, top email dated· · ·196
· ·   · · · · · · · ·August 14, 2018 from Todd
11·   · · · · · · · ·Maron to Dave Arnold, Sam
· ·   · · · · · · · ·Teller and Kamran Mumtaz,
12·   · · · · · · · ·Bates-stamped
· ·   · · · · · · · ·TESLA_LITTLETON_00018695
13·   · · · · · · · ·through
· ·   · · · · · · · ·TESLA_LITTLETON_00018698
14
· ·   ·Exhibit 346 - Email string, top email dated· · ·208
15·   · · · · · · · ·8/15/2018 from Kamran Mumtaz
· ·   · · · · · · · ·to Dave Arnold, Bates-stamped
16·   · · · · · · · ·TESLA_LITTLETON_00010932

17·   ·Exhibit 347 - Email string, top email dated· · ·210
· ·   · · · · · · · ·8/15/2018 from Dave Arnold to
18·   · · · · · · · ·Alexandria Sage, Bates-stamped
· ·   · · · · · · · ·TESLA_LITTLETON_00011210 and
19·   · · · · · · · ·TESLA_LITTLETON_00011211

20·   ·Exhibit 348 - CNet article, "Elon Musk's· · · · 217
· ·   · · · · · · · ·strange, strange Ambien tweet"
21
· ·   ·Exhibit 349 - Email dated 8/16/2018 from· · · · 220
22·   · · · · · · · ·Dave Arnold to Dave Arnold,
· ·   · · · · · · · ·Bates-stamped
23·   · · · · · · · ·TESLA_LITTLETON_00010920

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·2· · · · · · · · · ·EXHIBITS (Continued)

·3

·4· ·NUMBER· · · · · · · DESCRIPTION· · · · · · · ·MARKED

·5·   ·Exhibit 350 - Email string, top email dated· · ·221
· ·   · · · · · · · ·8/17/2018 from Dave Arnold to
·6·   · · · · · · · ·Sarah O'Brien, Bates-stamped
· ·   · · · · · · · ·TESLA_LITTLETON_00011183
·7·   · · · · · · · ·through
· ·   · · · · · · · ·TESLA_LITTLETON_00011187
·8
· ·   ·Exhibit 351 - Email string, top email dated· · ·226
·9·   · · · · · · · ·8/19/2018 from Dave Arnold to
· ·   · · · · · · · ·Emily Stewart, Bates-stamped
10·   · · · · · · · ·TESLA_LITTLETON_00011150
· ·   · · · · · · · ·through
11·   · · · · · · · ·TESLA_LITTLETON_00011154

12· ·Exhibit 352 - Vox post, "Elon Musk's plan to· · 231
· · · · · · · · · ·own investors betting against
13· · · · · · · · ·Tesla is backfiring"

14·   ·Exhibit 353 - Email dated 8/20/2018 from· · · · 232
· ·   · · · · · · · ·Dave Arnold to Dave Arnold,
15·   · · · · · · · ·Bates-stamped
· ·   · · · · · · · ·TESLA_LITTLETON_00010663
16
· ·   ·Exhibit 354 - Email string, top email dated· · ·234
17·   · · · · · · · ·8/21/2018 from Sam Teller to
· ·   · · · · · · · ·Sarah O'Brien, Bates-stamped
18·   · · · · · · · ·TESLA_LITTLETON_00010507 and
· ·   · · · · · · · ·TESLA_LITTLETON_00010508
19
· ·   ·Exhibit 355 - Email string, top email dated· · ·235
20·   · · · · · · · ·8/21/2018 from
· ·   · · · · · · · ·steller@tesla.com to Sarah
21·   · · · · · · · ·O'Brien and Dave Arnold,
· ·   · · · · · · · ·Bates-stamped
22·   · · · · · · · ·TESLA_LITTLETON_00012468

23

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·1· · · · · · · · · I N D E X· (Continued)

·2· · · · · · · · · ·EXHIBITS (Continued)

·3

·4· ·NUMBER· · · · · · · DESCRIPTION· · · · · · · ·MARKED

·5·   ·Exhibit 356 - Email dated 8/22/2018 from· · · · 238
· ·   · · · · · · · ·Dave Arnold, Bates-stamped
·6·   · · · · · · · ·TESLA_LITTLETON_00010403 and
· ·   · · · · · · · ·TESLA_LITTLETON_00010404
·7
· ·   ·Exhibit 357 - Email dated 8/24/2018 from· · · · 240
·8·   · · · · · · · ·Dave Arnold to Dave Arnold,
· ·   · · · · · · · ·Bates-stamped
·9·   · · · · · · · ·TESLA_LITTLETON_00010223

10·   ·Exhibit 358 - Email string, top email dated· · ·252
· ·   · · · · · · · ·8/26/2018 from Dave Arnold to
11·   · · · · · · · ·Sarah O'Brien, Bates-stamped
· ·   · · · · · · · ·TESLA_LITTLETON_00019182
12·   · · · · · · · ·through
· ·   · · · · · · · ·TESLA_LITTLETON_00019185
13
· ·   ·Exhibit 359 - Email dated 8/24/2018 from· · · · 248
14·   · · · · · · · ·steller@tesla.com to Sarah
· ·   · · · · · · · ·O'Brien, Bates-stamped
15·   · · · · · · · ·TESLA_LITTLETON_00019432

16

17· ·PREVIOUSLY MARKED EXHIBITS:· · · · · · · · · · PAGE

18· ·Exhibit· 12 -· · · · · · · · · · · · · · · · · ·144

19· ·Exhibit· 16 -· · · · · · · · · · · · · · · · · ·159

20· ·Exhibit· 98 -· · · · · · · · · · · · · · · · · ·211

21· ·Exhibit 171 -· · · · · · · · · · · · · · · · · ·213

22· ·Exhibit 220 -· · · · · · · · · · · · · · · · · ·223

23· ·Exhibit 229 -· · · · · · · · · · · · · · · · · ·247

24· ·Exhibit 311 -· · · · · · · · · · · · · · · · · ·141

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                                                                              Page 154
·1· · · · ·Q.· · And I think -- I believe you testified
·2· ·in your last deposition, but if you don't mind
·3· ·reminding us, who is Erica Chen?
·4· · · · ·A.· · She was a member of the communications
·5· ·team.
·6· · · · ·Q.· · And she would routinely prepare these
·7· ·summaries; correct?
·8· · · · ·A.· · Right, for -- you know, for news cycles
·9· ·that were -- you know, for bigger news cycles or
10· ·news cycles where it would be something we'd
11· ·potentially want to share with others inside the
12· ·company, and she would compile these summaries so
13· ·you didn't have to, you know, read every article
14· ·word for word.· You could sort of get the gist of
15· ·it, so to speak, just by looking at this summary.
16· · · · ·Q.· · Okay.· And she would use her judgment as
17· ·to which articles she would, you know, contain
18· ·quotes from or summarize and some she would just
19· ·include a link to?
20· · · · ·A.· · Yes.
21· · · · ·Q.· · There's an email in the middle of -- the
22· ·second email on this chain -- on the first page of
23· ·Exhibit 339, there's an email from you saying:
24· · · · · · · · · ·"One of the themes we should
25· · · · · · · ·keep an eye out for is any


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                                                                              Page 155
·1· · · · · · · ·reporting that Elon walked back
·2· · · · · · · ·his," quote, "'funding secured,'"
·3· · · · · · · ·close quote, "language from last
·4· · · · · · · ·week."
·5· · · · · · · ·Do you see that?
·6· · · · ·A.· · I do.
·7· · · · ·Q.· · Why were you -- why did you send that
·8· ·message to Erica Chen?
·9· · · · ·A.· · Well, I suspect I was, you know, looking
10· ·at this news coverage summary actually provided, and
11· ·there was some language in here -- for example, in
12· ·the third paragraph of her email where it says:
13· · · · · · · · · ·"Cowen analyst Jeffrey Osborne
14· · · · · · · ·told Bloomberg, 'Funding secured
15· · · · · · · ·certainly doesn't look secured in
16· · · · · · · ·my mind.'"
17· · · · · · · ·I think I probably read that and -- you
18· ·know, part of my job as communications person at
19· ·Tesla is to try and get a sense of where is the news
20· ·cycle going to go, what should -- what kind of, you
21· ·know, lines of inquiry should we expect next from
22· ·reporters.· And my sense was that that question was
23· ·being asked -- or that statement was being made, you
24· ·know, we might see more of that, and so I wanted to
25· ·just keep tabs on it.


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·1· · · · ·Q.· · Does this reflect the fact that "funding
·2· ·secured" language had been subject to inquiries
·3· ·before this date?
·4· · · · ·A.· · You're saying is my sending of that
·5· ·email also a reflection of the fact that we may have
·6· ·gotten inquiries on that previously?
·7· · · · ·Q.· · Yes.
·8· · · · ·A.· · Yeah, I imagine that may have gone into
·9· ·my calculations in terms of sending that email.
10· · · · ·Q.· · After this -- you know, after
11· ·August 13th, do you recall getting further inquiries
12· ·regarding the meaning of "funding secured"?
13· · · · ·A.· · Again, I don't recall the specific
14· ·timeline of when we got questions about what topic,
15· ·but I would imagine we did get questions on that
16· ·sort of throughout the process -- excuse me,
17· ·throughout the -- this whole period.
18· · · · ·Q.· · Do you recall having any discussions
19· ·with anyone else at Tesla regarding keeping an eye
20· ·out for any reporting that Elon walked back his
21· ·"funding secured" language?
22· · · · ·A.· · Not specifically.· I mean, it wouldn't
23· ·surprise me if I had said something similar to my
24· ·other colleagues as well.
25· · · · ·Q.· · Okay.· That might be Aaron Chew?


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·1· · · · ·A.· · I -- I -- I don't recall specifically.
·2· ·It -- it wouldn't surprise me if there was others,
·3· ·but I -- I think it was primarily Todd.
·4· · · · ·Q.· · Okay.· Now, this is -- this blog post is
·5· ·written in the first person; correct?
·6· · · · ·A.· · It is.
·7· · · · ·Q.· · Okay.· And it's -- Elon Musk has the
·8· ·byline, so to speak?
·9· · · · ·A.· · Correct.
10· · · · ·Q.· · Do you know why Todd Maron and yourself
11· ·and Sarah O'Brien were drafting a document that was
12· ·being issued in the name of Elon Musk?
13· · · · ·A.· · I don't think -- in my experience,
14· ·anyway, speaking generally, I don't think that's
15· ·particularly unusual if, you know, an executive is
16· ·going to put out -- if you see a blog post or a
17· ·statement from an executive, you know, sometimes --
18· ·not always, but that's -- that's not infrequently
19· ·drafted with the assistance of, you know, members of
20· ·the communications team, legal, so on and so forth.
21· ·And so I sort of put this in that same category.
22· · · · ·Q.· · What do you mean by the "same category"?
23· ·As a statement by Tesla's CEO?
24· · · · ·A.· · Yeah, correct, a statement by Elon Musk
25· ·that, you know, he, as I recall, you know, would


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·1· · · · · · · · · · J U R A T
·2
·3· ·I,· · · · · · ·, do hereby certify under
·4· ·penalty of perjury that I have read the foregoing
·5· ·transcript of my deposition taken on· · · · · · ·;
·6· ·that I have made such corrections as appear noted
·7· ·herein in ink, initialed by me; that my testimony as
·8· ·contained herein, as corrected, is true and correct.
·9
10· ·DATED this ____ day of _____________, 20                   ,
11· ·at _____________________________,· · · · ·.
12
13
14
15
16
17· ·__________________________________
18· · · · · ·SIGNATURE OF WITNESS
19
20
21
22
23
24
25




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·1· · · · · · · · · ·C E R T I F I C A T E

·2

·3· ·STATE OF CALIFORNIA )

·4· · · · · · · · · · · ·) ss.:

·5· ·COUNTY OF ORANGE· · )

·6

·7· · · · · · · ·I, TAMI L. LE, Certified Shorthand

·8· · · · ·Reporter within and for the State of

·9· · · · ·California, do hereby certify:

10· · · · · · · ·That DAVID ARNOLD, the witness whose

11· · · · ·deposition is hereinbefore set forth, was duly

12· · · · ·sworn by me and that such deposition is a true

13· · · · ·record of the testimony given by such witness.

14· · · · · · · ·I further certify that I am not related

15· · · · ·to any of the parties to this action by blood

16· · · · ·or marriage; and that I am in no way

17· · · · ·interested in the outcome of this matter.

18· · · · · · · ·IN WITNESS WHEREOF, I have hereunto set

19· · · · ·my hand this 8th day of March, 2022.

20
· · · · · · · · · · ·__________________________________
21· · · · · · · · · · ·TAMI L. LE, CSR NO. 8716, RPR

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·1· ·NAME OF CASE:
·2· ·DATE OF DEPOSITION:
·3· ·NAME OF WITNESS:
·4· ·Reason Codes:
·5· · · · 1.· To clarify the record.
·6· · · · 2.· To conform to the facts.
·7· · · · 3.· To correct transcription errors.
·8· ·Page ______ Line ______ Reason ______
·9· ·From _____________________ to _____________________
10· ·Page ______ Line ______ Reason ______
11· ·From _____________________ to _____________________
12· ·Page ______ Line ______ Reason ______
13· ·From _____________________ to _____________________
14· ·Page ______ Line ______ Reason ______
15· ·From _____________________ to _____________________
16· ·Page ______ Line ______ Reason ______
17· ·From _____________________ to _____________________
18· ·Page ______ Line ______ Reason ______
19· ·From _____________________ to _____________________
20· ·Page ______ Line ______ Reason ______
21· ·From _____________________ to _____________________
22· ·Page ______ Line ______ Reason ______
23· ·From _____________________ to _____________________
24
25· · · · · · · · · · · · · · · ________________________




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